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  1   BRIAN M. WILLEN (pro hac vice)
            bwillen@wsgr.com
  2   WILSON SONSINI GOODRICH & ROSATI
  3   Professional Corporation
      1301 Avenue of the America, 40th Floor
  4   New York, NY 10019-6022
      Telephone: (212) 999-5800
  5   Facsimile: (212) 999-5899
  6   ARIEL C. GREEN ANABA, SBN 304780
  7         aanaba@wsgr.com
      WILSON SONSINI GOODRICH & ROSATI
  8   Professional Corporation
      953 East Third Street, Suite 100
  9   Los Angeles, CA 90013
      Telephone: (323) 210-2900
 10   Facsimile: (866) 974-7329
 11
    Attorneys for Defendants
 12 GOOGLE LLC, ALPHABET INC.,
    and YOUTUBE, LLC
 13
 14                             UNITED STATES DISTRICT COURT
 15                           CENTRAL DISTRICT OF CALIFORNIA
 16                                       WESTERN DIVISION
 17 RICHARD JACKSON, et al.,                            ) Case No. 2:22-cv-09438-AB-MAA
                                                        )
 18                                                     ) DEFENDANTS ALPHABET INC.,
                     Plaintiffs,                        )
 19                                                     ) AMAZON.COM, INC., AMERICAN
             v.                                         ) FEDERATION OF TEACHERS,
 20                                                     ) APPLE INC., DNC SERVICES
                                                        ) CORPORATION, GOOGLE LLC,
 21 TWITTER, INC., et al.,                              ) INSTAGRAM, LLC, META
                                                        ) PLATFORMS, INC., NATIONAL
 22                                                     )
                     Defendants.                        ) EDUCATION ASSOCIATION,
 23                                                     ) NATIONAL SCHOOL BOARDS
                                                        ) ASSOCIATION, YOUTUBE, LLC,
 24                                                     ) AND X CORPORATION’S
                                                        ) (FORMERLY KNOWN AS
 25                                                     ) TWITTER, INC.) NOTICE OF
                                                        )
 26                                                     ) DECISION IN MR. REZNICK’S
                                                        ) BANKRUPTCY APPEAL
 27                                                     )
                                                        )
 28                                                     )
      DEFENDANTS’ NOTICE OF DECISION IN MR. REZNICK’S               CASE NO.: 2:22-CV-09438-AB-MAA
      BANKRUPTCY APPEAL
Case 2:22-cv-09438-AB-MAA Document 86 Filed 11/07/23 Page 2 of 3 Page ID #:978



  1     NOTICE OF DECISION IN MR. REZNICK’S BANKRUPTCY APPEAL
  2 TO THE COURT, THE PARTIES, AND ALL COUNSEL OF RECORD:
  3          On July 14, 2023, the Court held a status conference regarding the status of
  4 Plaintiffs’ case given that Plaintiffs’ counsel, Mr. Michael Reznick, had been
  5 suspended from practicing in the Central District due to a finding of fraud on the
  6 court in a pending bankruptcy case. (See Dkt. 76.) The Court set a further status
  7 conference for September 15, 2023 to determine whether Plaintiffs would proceed
  8 with new counsel or not at all. (See id.) That status conference was further
  9 continued to October 13, 2023. (See Dkt. 83.)
 10          On October 13, 2023, the Court held the aforementioned status conference.
 11 (See Dkt. 85.) During that hearing, Mr. Reznick informed the Court that he had
 12 been unsuccessful in finding replacement counsel. Mr. Reznick also informed the
 13 Court that he had appealed the Bankruptcy Court’s finding of fraud, and that the
 14 Ninth Circuit Bankruptcy Appellate Panel would soon issue a decision in that
 15 appeal. The Court further continued the status conference until January 12, 2024,
 16 and ordered Mr. Reznick to keep him updated on the status of his appeal.
 17          On October 20, 2023, the Ninth Circuit Bankruptcy Appellate Panel
 18 affirmed the Bankruptcy Court’s decision that Mr. Reznick had committed fraud
 19 on the court, concluding that “[a]ll of Mr. Reznick’s arguments are meritless.” See
 20 In re DA & AR Hospice Care, Inc., BAP No. CC-22-1128-FLC, at 1 (9th Cir. BAP
 21 2023) (attached for the Court’s convenience as Exhibit A). Accordingly,
 22 Defendants Alphabet Inc., Amazon.com, Inc., American Federation of Teachers,
 23 Apple Inc., DNC Services Corporation, Google LLC, Instagram, LLC, Meta
 24 Platforms, Inc., National Education Association, National School Boards
 25 Association, YouTube, LLC, and X Corporation (formerly known as Twitter, Inc.)
 26 provide this notice of decision in accordance with the spirit of the Court’s October
 27 13, 2023 Order.
 28
      DEFENDANTS’ NOTICE OF DECISION IN MR. REZNICK’S   -2-     CASE NO.: 2:22-CV-09438-AB-MAA
      BANKRUPTCY APPEAL
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  2                                               Respectfully submitted,
  3
      Dated: November 7, 2023                     WILSON SONSINI GOODRICH & ROSATI
  4                                               Professional Corporation
  5
                                                   By:     /s/ Ariel C. Green Anaba
  6                                                      Ariel C. Green Anaba
  7                                                      aanaba@wsgr.com
  8                                                Attorney of Record for Defendants
  9                                                GOOGLE LLC, ALPHABET INC.,
                                                   and YOUTUBE, LLC
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      DEFENDANTS’ NOTICE OF DECISION IN MR. REZNICK’S    -3-           CASE NO.: 2:22-CV-09438-AB-MAA
      BANKRUPTCY APPEAL
